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                                                  Liberty Square Building
                                                  450 5th Street, N.W.
                                                  Washington, DC 20530


                                                   July 2, 2024


   Via ECF
   Honorable Julien X. Neals, U.S.D.J.
   United States District Court
   District of New Jersey
   Martin Luther King Building & U.S. Courthouse
   50 Walnut Street
   Newark, NJ 07101

   Dear Judge Neals:

           Counsel have conferred regarding a proposed schedule for filing responses to Dkt.
   No. 58 (“[M]otion to dismiss; motion for injunction; arguendo motion to intervene; ex
   parte motion for service by US Marshals and other reliefs; all motions WITHOUT
   HEARING” filed by pro se litigant TaiMing Zhang). The parties to this action propose
   that any responses from the parties shall be filed on or before August 30, 2024.

                                        Respectfully submitted,

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